 Case
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     Federal Public Defender
 2   State Bar No. 11479
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 3   Assistant Federal Public Defender
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 6
     Attorneys for Rocco Lazazzaro
 7

 8
 9                                  UNITED STATES DISTRICT COURT

10                                         DISTRICT OF NEVADA
11                                                  ***

12

13    UNITED STATES OF AMERICA,                           2:12-cr-00485-GMN-PAL

14                            Plaintiff,                  STIPULATION TO CONTINUE
                                                          MOTION HEARING
15    vs.                                                 (First Request)
                                                          (Emergency Consideration Requested)
16    ROCCO LAZAZZARO,

17                            Defendant.

18
              IT IS HEREBY STIPULATED AND AGREED, by and between Daniel Bogden, United
19
     States Attorney, and Christina M. Brown, Assistant United States Attorney, counsel for the United
20
     States of America, and Rene L. Valladares, Federal Public Defender, and Shari L. Kaufman,
21
     Assistant Federal Public Defender, counsel for defendant ROCCO LAZAZZARO, that the Motion
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     hearing currently scheduled for March 25, 2013, at the hour of 10:00 a.m., be vacated and set to any
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     day next week; however, in no event earlier than Tuesday, March 26, 2013.
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              This Stipulation is entered into for the following reasons:
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              1.            Defense counsel will be out of the office on an office mandated furlough day
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     during the presently scheduled hearing date and time.
27
              2.            Additionally, defense counsel is the attorney who has specific knowledge
28
     of the case and respectfully requests a resetting of the motion hearing in this matter.
 Case
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 1             3.              The defendant Lazazzaro is incarcerated does not object to the continuance.

 2             4.              The parties agree to the continuance.

 3             5.              The additional time requested herein is not sought for purposes of delay, but
 4   merely to allow for a resetting in this matter.

 5             6.              Additionally, denial of this request for continuance could result in a
 6   miscarriage of justice.

 7             7.              The additional time requested by this Stipulation is excludable in computing

 8   the time within which the trial herein must commence pursuant to the Speedy Trial Act, Title 18,
 9   United States Code, Section 3161(h)(7)(A), considering the factors under Title 18, United States

10   Code, Sections 3161(h)(7)(B)(i) and 3161(h)(7)(B)(iv).
11             This is the first request to continue the motion hearing date filed herein.

12             DATED this 21st day of March, 2013.

13       RENE L. VALLADARES                                      DANIEL BOGDEN
         Federal Public Defender                                 United States of America
14

15       /s/ Shari L. Kaufman                                      /s/ Christina M. Brown
     By:                                                     By:
16      SHARI L. KAUFMAN                                           CHRISTINA M. BROWN
        Assistant Federal Public Defender                          Assistant United States Attorney
17      Counsel for Rocco Lazazzaro                                Counsel for the Plaintiff

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 1                               UNITED STATES DISTRICT COURT

 2                                      DISTRICT OF NEVADA

 3
      UNITED STATES OF AMERICA,                       2:12-cr-00485-GMN-PAL
 4
                           Plaintiff,                 ORDER
 5
      vs.
 6

 7    ROCCO LAZAZZARO,

 8                         Defendant.

 9           Based on the pending Stipulation of counsel, and good cause appearing therefore,

10           IT IS THEREFORE ORDERED that the motion hearing currently scheduled for Monday,

11                                                                           Thursday, 3/28/2013
     March 25, 2013, at the hour of 10:00 a.m., be vacated and continued to ______________________

12                   9:00am ____.m.
     at the hour of _________

13           DATED WKLVQG day of March, 2013.

14
                                                       ___________________________________
15                                                     UNITED STATES MAGISTRATE JUDGE

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